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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA


       V.                                                No. l;17-cr-10277-MLW


PETER MOLLOY




                                 MOTION FOR RETURN OF BAIL


        Defendant Peter R. Molloy ("the defendant"), by and through his undersigned counsel,

hereby respectfully requests this Honorable Court issue an order directing the return of the
$100,000.00 cash and release of the property posted by the defendant to secure his $350,000.00
appearance bond. As grounds, the defendant avers and states:

    1. The defendant was indicted on September 13, 2017, and appeared for his Initial

        Appearance on September 19, 2017. His arraignment and detention hearing were
        scheduled for October 2, 2017. The defendant was arraigned on October 2, 2017; his

        detention hearing was continued to October 19, 2017. On October 19, 2017, the Court
        entered the order setting the defendant's conditions of release' were set, including a
        secured appearance bond^ in the amount of $350,000.00. The appearance bond was
        secured by $100,000.00 cash, which was paid on that date^ with the remaining balance of




' Docket entry#31, copy attached as Exhibit 1.
2Docket entry#32, copy attached as Exhibit 2.
^ Receipt # 1BST064926.
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